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 5                                 UNITED STATES DISTRICT COURT
 6                               EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,                             CASE NO. CR F 11-0026 LJO
     et al.,
 9                                                         ORDER ON REQUEST TO DELAY
10                                                         TRIAL
                                                           (Doc. 261.)
11                          Plaintiff,
12          vs.
13
     JULIE DIANE FARMER,
14
                       Defendant.
15   ______________________________/
16
17          This Court has reviewed defendant Julie Diane Farmer's Request for Delay of Jury
18   Trial, requesting the trial be moved from January 28, 2014 to February 4, 2014. The request
19   represents that no counsel for any party is opposed. Based on such representation, the request
20   is granted with understandings that: (1) time is excluded until the new date for trial (counsel
21   have 5 court days to object); and (2) trial of this action may trail a day or two as this Court
22   completes trial in another action that will be heard in place of this action on January 28, 2014.
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24   IT IS SO ORDERED.
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        Dated:     November 26, 2013                         /s/ Lawrence J. O’Neill
26                                                        UNITED STATES DISTRICT JUDGE
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